Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 1 of 20
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                 August 15, 2019
                                                                David J. Bradley, Clerk
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 2 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 3 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 4 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 5 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 6 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 7 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 8 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 9 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 10 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 11 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 12 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 13 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 14 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 15 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 16 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 17 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 18 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 19 of 20
Case 4:16-cv-00582 Document 73 Filed on 08/14/19 in TXSD Page 20 of 20
